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PAR&EW/USAQ#2019R00323 | , OCT i 7 2019
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND CLERK Us DISTIeoT COURT
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UNITED STATES OF AMERICA “mee
| a t CRIMINAL NO. 1 4 GQ
Vv k j 4 .
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ir (Use of Interstate Facilities to Promote
WENBO WANG, * Enterprise involving Prostitution Offense,
« 18 U.S.C. § 1952(a)(@); Aiding & Abetting,
Defendant. *  18U.S.C. §2)
*
INFORMATION
COUNT ONE

(Use of Interstate Facilities to Promote Enterprise involving Prostitution Offense)
The United States Attorney for the District of Maryland charges that:
Beginning in at the latest January 2017 and continuing through January 2019, exact dates
being unknown to the Grand Jury, in the District of Maryland, the defendant,

WENBO WANG,

 

used, and aided and abetted the use of, a facility in interstate and foreign commerce with intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment,
and carrying on, of an unlawful activity, that is, a business enterprise involving prostitution
offenses in violation of the laws of the State of Maryland, to include MD Code, Criminal Law, §§
11-303, 11-304, and of the United States, and thereafter performed and attempted to perform an
act that promoted, managed, established, carried on and facilitated the promotion, management,
establishment and carrying on of said unlawful activity.

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18 U.S.C. § 1952(a)(3)

 

 

18 U.S.C. §2
[O- (4-14 aud X. Wav [mf
DATE Robert K. Hur

United States Attorney

 
